Case 1:14-ml-02570-RLY-TAB Document 19817-1 Filed 09/01/21 Page 1 of 1 PageID #:
                                  123203



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC FILTERS             Case No. 1:14-ml-2570-RLY-TAB
  MARKETING, SALES PRACTICES AND                     MDL No. 2570
  PRODUCTS LIABILITY LITIGATION



  This Document Relates to Plaintiff(s):

  Jamel Howard - 1:20-cv-6134-RLY-TAB
  Eugene Applegate - 1:20-cv-06144-RLY-TAB
  Jason Oliger - 1:20-cv-06296-RLY-TAB
  Sheryl Harrison - 1:21-cv-06312-RLY-TAB
  Patricia Perdue - 1:20-cv-06225-RLY-TAB



         ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

         Plaintiffs’ Motion to Withdraw Attorney Appearance of Bradford J. Gilde is GRANTED,

 it is therefore,

         ORDERED that Bradford J. Gilde is withdrawn as attorney of record for Plaintiffs Jamel

 Howard, Eugene Applegate, Jason Oliger, Sheryl Harrison, and Patricia Perdue effective

 immediately. Basil E. Adham and Johnson Law Group shall continue to serve as counsel of record

 for Plaintiffs.



 Date: ____________

                                                    ____________________________________
                                                    Tim A. Baker
                                                    United States Magistrate Judge
                                                    Southern District of Indiana
